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    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
    .............-----------------------------------------------X

    In Re:                                                            Chapter 11


    MICHAEL CHESNER                                                   Case No.: 17-73059
    a/k/a MICHAEL D. CHESNER

    a/k/a DR. MICHAEL CHESNER

    AND
    AMY CHESNER
    a/k/a AMY BAKER
    a/k/a AMY D. CHESNER



                              Debtors.
    ------------------------------------------------------------X

    ROBIN CHESNER
                                                                      Adv. Proc. No.: 17-08215
                             Plaintiff,


                      -against-                                       ANSWER
    MICHAEL CHESNER a/k/a MICHAEL D.
    CHESNER a/k/a DR. MICHAEL CHESNER

                             Defendant.
    --------------------------------------------------------------X



              Michael Chesner ("Debtor") by his attomeys Berger,      F ischoff & Shumer, LLP,   as   and for

    the Debtor’s/Defendant’s       Answer    to the Complaint ("Compliant") filed       by Robin Chesner

    ("Plaintiff’), responds as follows:

I

              1.     Denies knowledge and information sufficient to form a belief as to the truth or


    falsity   of the allegations contained in paragraph "1" of the Complaint and respectfully refers the

    interpretation of the legal authorities therein to the Court.


              2.     Admits the allegations set forth in paragraph "2” of the Complaint.

              3.     Admits the   allegations set forth in paragraph "3"   of the Complaint.

              4.     Admits the allegations set forth in paragraph "4" of the Complaint.
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              5.      Admits the allegations set forth in paragraph "5" of the Complaint.

              6.      Admits the allegations set forth in paragraph "6" of the Complaint.

              7.      Admits the   allegations set forth in paragraph "7”   of the Complaint.

              8.      Admits the allegations set forth in paragraph "8” of the Complaint.

              9.      Admits the allegations set forth in paragraph "9" of the Complaint.

              10.     Denies knowledge and information sufficient to form a belief as to the        trust or


    falsity   of the allegations contained in paragraph "10" of the complaint and respectfully refers the

    interpretation ofthe legal authorities therein to the Court.


              11.    Admits the    allegations set forth in paragraph "11"   of the Complaint.

              12.    Admits the    allegations set forth in paragraph "12"   of the Complaint.

              13.    Admits the    allegations set forth in paragraph "l3"   of the Complaint.

              14.    Admits the allegations set forth in paragraph "14" of the Complaint.

              15.    Admits the allegations set forth in paragraph "15" of the Complaint.
                                                                                                               _




              16.    In responding to paragraph "16" ofthe Complaint, Defendant denies the allegations


    contained therein and respectfully refers the Court to the documents cited therein for their contents,


    interpretation and application.


              17.    Admits the allegations set forth in paragraph "17" of the Complaint.

              18.    In responding to paragraph "18" ofthe Complaint, Defendant denies the allegations


    contained therein and respectfully refers the Court to the documents cited therein for their
                                                                                                   contents,


    interpretation and application.


              19.    Denies each and every allegation contained in paragraph "19" of the Complaint.
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              20.    Admits the allegations set forth in paragraph "20" of the Complaint.
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        2 l.    In responding to paragraph “2 l " ofthe Complaint, Defendant denies the allegations


contained therein and respecthrlly refers the Court to the documents cited therein for their contents,


interpretation and application.


       22.      In responding to paragraph "22" ofthe Complaint, Defendant denies the allegations


contained therein and respectfully refers the Court to the documents cited therein for their contents,


interpretation and application.


       23.      In responding to paragraph "23" ofthe Complaint, Defendant denies the allegations


contained therein and respectfully refers the Court to the documents cited therein for their contents,


interpretation and application.


       24.      Denies each and every allegation contained in paragraph "24" of the Complaint.

       25.      Denies each and every allegation contained in paragraph "25" of the Complaint.

       26.      In response to paragraph "26" of the Complaint, Defendant repeats and realleges


each and every response to the allegations contained in paragraphs "l" through “25" of the


Complaint as   is set   forth fully herein.


       27.      Admits the allegations set forth in paragraph "27" of the Complaint.

       28.      Admits the allegations set forth in paragraph "28" of the Complaint.

       29.      Admits the allegations set forth in paragraph "29" ofthe Complaint.

       30.      Denies each and every allegation contained in paragraph "3 0" of the Complaint.

       31.     Denies each and every allegation contained in paragraph "3 l" of the Complaint.

       32.     Denies each and every allegation contained in paragraph "3 2" of the Complaint.

       33.     Denies each and every allegation contained in paragraph "33" of the Complaint.

       34.     Denies each and every allegation contained in paragraph "34” of the Complaint.
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               35.     In responding to paragraph "35" of the Complaint, Defendant repeats and realleges


    each and every response to the allegations contained in paragraphs "l" through "34"
                                                                                        of the

    Complaint as      is set   forth fully herein.


           36.         In response to paragraph "36" of the Complaint, Defendant denies the allegations
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    contained therein and respectfully refers the Court to the documents cited therein for
                                                                                                           their contents,


    interpretation and application.


           37.         Denies each and every allegation contained in paragraph "3 7" of the Complaint.

           38.        Denies each and every allegation contained in paragraph "38" of the Complaint.




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                               AS AND FOR A FIRST AFFIRMATIVE DEFENSE

           39.        The Complaint fails to         state   a claim upon which relief may be granted.
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                           AS AND FOR A SECOND AFFIRMATIVE DEFENSE

           40.        The claims alleged do not fall under          ll U.S.C. 523 (a)(5) or (a)(l5).


                               AS AND FOR A THIRD AFFIRMATIVE DEFENSE

           41.       All amounts alleged      owed are overstated.

                          AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

          42.        Any amounts alleged to be non—dischargeable should be offset against amounts due

    and owing to     Plaintiff by the Defendant.
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        WHEREFORE,         it is   respectfully requested that this Honorable Court grant   judgment

dismissing the Complaint, together with costs and disbursements, and such other and further relief


as this court   deems just and proper.

Dated: Syosset, New York
       October 20, 2017
                                                        Berger, Fischoff   & Shumer, LLP
                                                        Attorneys for Michael Chesner



                                                 By:
                                                        Heath S. Berger, Esq.
                                                        6901 Jericho Tumpike, Suite 230
                                                        Syosset,   New York 11791
                                                        (516) 747-1136
